         Case 16-31975 Document 356 Filed in TXSB on 06/29/16 Page 1 of 19




                            UNITED STATES BANKRUPTCY COURT
                               SOUTHERN DISTRICT OF TEXAS
                                    HOUSTON DIVISION

IN RE:

GOODRICH PETROLEUM                                CASE NO. 16-31975
CORPORATION, ET AL.
          Debtors                                 CHAPTER 11

                                                Jointly Administered
                  ____________________________________________
CAROLYN JULIA CLARK, MICHELE
CLARK CADWALLADER, TRUSTEE
OF THE CAROLYN JULIA CLARK
FAMILY 2011 TRUST; CHRISTOPHER
STUART CLARK, SUCCESSOR OF
THE CHRISTOPHER STUART CLARK
MANAGEMENT TRUST; CHRISTOPHER
STUART CLARK, TRUSTEE OF THE
CHRISTOPHER STUART CLARK
FAMILY 2011 TRUST; MICHELE CLARK
CADWALLADER, INDIVIDUALLY AND
AS TRUSTEE OF THE MICHELE CLARK
CADWALLADER FAMILY 2011 TRUST;
ALDES HARRAND CADWALLADER V;
WALTER CLARK CADWALLADER;
4819, LTD; KATHERINE BURNS TERRY
HORLEN, TRUSTEE OF THE JOHN DAVID
TERRY, III 1994 TRUST; KATHERINE BURNS
TERRY HORLEN, TRUSTEE OF THE LISA
CHRISTINE TERRY 1994 TRUST; AND
BURNS RANCH ENTERPRISES, LLC

               Plaintiffs                         ADVERSARY PROCEEDING

         V.                                       No:_____________________

GOODRICH PETROLEUM COMPANY, LLC
         Defendant.


                                  ORIGINAL COMPLAINT

TO THE HONORABLE UNITED STATES BANKRUPTCY JUDGE:



                                          1
       Case 16-31975 Document 356 Filed in TXSB on 06/29/16 Page 2 of 19




       The    Plaintiffs,   (1)   CAROLYN       JULIA     CLARK;      (2)    MICHELE   CLARK

CADWALLADER, Trustee of the CAROLYN JULIA CLARK FAMILY 2011 TRUST; (3)

CHRISTOPHER STUART CLARK, Successor of the CHRISTOPHER STUART CLARK

MANAGEMENT TRUST; (4) CHRISTOPHER STUART CLARK, Trustee of the

CHRISTOPHER STUART CLARK FAMILY 2011 TRUST; (5) MICHELE CLARK

CADWALLADER, individually and as Trustee of the MICHELE CLARK CADWALLADER

FAMILY 2011 TRUST; (6) ALDES HARRAND CADWALLADER V; (7) WALTER CLARK

CADWALLADER; (8) 4819, Ltd., a Texas Limited Partnership; (9) KATHERINE BURNS

TERRY HORLEN, Trustee of the JOHN DAVID TERRY, III 1994 TRUST; (10) KATHERINE

BURNS TERRY HORLEN, Trustee of the LISA CHRISTINE TERRY 1994 TRUST; AND (11)

BURNS RANCH ENTERPRISES, LLC (collectively, also referred to herein as the “Burns” or

“Plaintiffs”) bring this Complaint against Defendant, Goodrich Petroleum Company, LLC.

                                  A. JURISDICTION AND VENUE

1.     This Court has jurisdiction over the Complaint pursuant to 28 U.S.C. § 1334. This is a

core proceeding.

2.     Venue is proper in this Court under 28 U.S.C. § 1409(a).

         B. THE DEFENDANT’S INTEREST IN THE BURNS OIL AND GAS LEASES

3.     The Burns are the owners of undivided mineral and royalty interests under approximately

29,937.01 acres of land partly situated in La Salle County, Texas and partly situated in Frio

County, Texas, commonly referred to herein as the “Burns Ranch”. The Burns have succeeded to

the mineral and royalty interests of T. E. Burns and Patricia Burns Clark.

4.     On February 1, 2010, the Patricia Burns Clark Trust Under the Will of T. E. Burns,

Deceased, and the Patricia Burns Clark (Dailey) Irrevocable Trust Under Agreement Dated May


                                                2
         Case 16-31975 Document 356 Filed in TXSB on 06/29/16 Page 3 of 19




1, 1961 by JP Morgan Chase Bank, N.A., Trustee, as Lessor, and BB-II Operating, LP (“BB”),

as Lessee, entered into an Oil and Gas Lease covering certain of Lessor’s undivided interests in

oil, gas and associated hydrocarbons under 24,803.70 acres out of the Burns Ranch. 1

    5.   On March 16, 2010, Patricia Burns Clark Dailey, as Lessor, and Chesapeake Exploration,

L.L.C. (“Chesapeake”), as Lessee, entered into an Oil and Gas Lease covering certain of

Lessor’s undivided interests in oil, gas and associated hydrocarbons under 24,824.78 acres out of

the Burns Ranch. 2

    6.   On May 16, 2010, 4819, Ltd., as Lessor, and Chesapeake Exploration, L.L.C., as Lessee,

entered into an Oil and Gas Lease covering certain of Lessor’s undivided interest in oil, gas and

associated hydrocarbons under 24,824.78 net acres out of the Burns Ranch. 3

    7.   The Burns Trust Lease, the Burns Clark Lease and the 4819 Lease are collectively

referred to herein as the “Leases”.

    8.   For clarity, the Leases each cover undivided rights to oil and gas under the same acres of

the Burns Ranch. Each of the Leases in effect overlays one another so that the obligations and

operations of the lessee anywhere on the above 24,824.78 acres shall be subject to all of the

terms and provisions of each of the Leases.



1
 A Memorandum of Oil and Gas Lease is recorded in Volume 491 Pages 325-328 of the Official Public
Records of La Salle County, Texas and Volume 70 Pages 483-488 of the Official Public Records of Frio
County, Texas, and a copy of the Oil and Gas Lease is attached hereto as Exhibit “A” and referred to
herein as the “Burns Trust Lease”.

2A Memorandum of Oil and Gas Lease is recorded in Volume 501 Pages 433-437 of the Official Public
Records of La Salle County, Texas and Volume 128 Pages 245-250 of the Official Public Records of Frio
County, Texas, and a copy of the Oil and Gas Lease is attached hereto as Exhibit “B” and referred to
herein as the “Burns Clark Lease”.

3A Memorandum of Oil and Gas Lease is recorded in Volume 501 Pages 443-447 of the Official Public
Records of La Salle County, Texas, and a copy of which Oil and Gas Lease is attached hereto as Exhibit
“C” and referred to herein as the “4819 Lease”.


                                                   3
          Case 16-31975 Document 356 Filed in TXSB on 06/29/16 Page 4 of 19




    9.    Goodrich Petroleum Company, LLC (hereinafter sometimes referred to as “Defendant”

or “Goodrich”) first acquired an interest in the Leases by partial assignment of the Burns Trust

Lease. Defendant and Chesapeake then cross-assigned their rights to certain depths under the

Leases to each other effective May 16, 2010, to the end that Defendant held an interest in all 3 of

the Leases as to certain depths under a certain segregated 12,093.24 acres, more or less, of the

Burns Ranch, and Chesapeake held an interest in all 3 of the Leases as to certain depths under a

certain segregated 12,092.64 acres, more or less, of the Burns Ranch. 4 Partial assignments of the

Leases were also made to third parties, however, for purposes of this Paragraph, any such

assignments are omitted to avoid confusion.

    10.   Because of the cross-assignments, the rights and interests of each working interest owner

(i.e., Goodrich, Chesapeake, etc.) under any acreage covered by the Leases are subject to all of

the terms, conditions and obligations of each of the Leases.

                                      C. BACKGROUND FACTS

    11.   Each of the Leases provides for the specific method that Defendant (and other working

interest claimants of the Leases) must follow in calculating and paying royalties under the

Leases.

12.       Each of the Leases provides that if royalties are not fully and timely paid, then the

affected royalty owners have certain rights and remedies. Each of the Leases also provide for the

right of the lessee to avoid certain results from lessee’s failure to timely and properly pay

royalties, including termination of the lease.


4Attached as Exhibit “D” is the Cross Assignment with a plat of the Burns Ranch depicting the area of
the Leases held by Defendant shaded in dark grey as a result of the cross-assignment, and the area of the
Leases claimed by Chesapeake as a result of the cross-assignment shaded in light gray. Hereafter, the
portion of the Leases held by Defendant as a result of the cross-assignment will sometimes be referred to
herein as the “Defendant Lease Area” and the portion of the Leases held by Chesapeake as a result of the
cross-assignment will sometimes be referred to as the “CHK Lease Area”.

                                                    4
        Case 16-31975 Document 356 Filed in TXSB on 06/29/16 Page 5 of 19




 13.    The Leases include express language regarding potential consequences for the lessee’s

failure to pay royalties.

       a)       The Burns Trust Lease in Paragraph 7.H. provides the following: “Lessor may

        give Lessee written notice of such default in payment of royalties and Lessee shall have

        thirty (30) days after receipt of such notice to pay to Lessor all royalties then due and

        owed plus interest on such past-due amounts as hereinabove provided. If full payment

        (including interest) has not been received by Lessor within the 30-day period after notice,

        Lessor may ipso facto terminate this lease and evict Lessee forthwith; provided, however,

        that if Lessee shall assert by written notice to Lessor within the 30-day period that a good

        faith, bona fide dispute exists, based on an attorney’s written opinion which is included

        with Lessee’s notice, as to the entitlement of Lessor to payment of such royalties, Lessee

        may then satisfy its obligations to pay such disputed royalties hereunder and avoid

        termination of this lease by paying such disputed royalties to a trustee acceptable to both

        parties, which trustee shall retain and invest such disputed royalties in interest bearing

        accounts approved by Lessor pending resolution of the royalty entitlement dispute, with

        interest to belong to the rightful royalty owner.” See Exhibit A.

       b)       The Burns Clark Lease and the 4819 Lease in Paragraph 5.8.3 provide the

        following: “If undisputed royalties owed to Lessor or royalty owner are not paid within

        sixty (60) days after Lessor or royalty owner has given Lessee written notice of such

        default, by certified mail, return receipt requested to the following office and

        representatives of Lessee, then this Lease shall terminate.” “If a bona fide dispute exists

        as to such unpaid royalty, then such disputed royalty shall be paid in accordance with

        subparagraph 5.9 below.” See Exhibits B and C.



                                                 5
          Case 16-31975 Document 356 Filed in TXSB on 06/29/16 Page 6 of 19




    14.   The Burns initially requested information from Defendant pursuant to their rights under

the Leases on February 18, 2013 (See Exhibit E) in order to verify production volumes relating

to their royalty payments. Defendant failed to respond to such request. Thereafter, the Burns

through their agents requested information on March 5, 2013, April 10, 2013, April 29, 2013,

August 5, 2013, and October 18, 2013 to no avail.

    15.   On November 24, 2014, Burns sent Defendant a Notice of Audit and Request for

Information (See Exhibit F) to verify whether or not royalty payments had been made in

accordance with the terms and provisions of the Leases.

    16.   On February 26, 2015, Defendant provided Burns with some of the information that it is

required to provide under the Lease, but not all items were produced. The Burns proceeded with

their audit despite Defendant’s failure to provide all information needed for such audit.

    17.   Sometime during July, 2015, while Defendant’s audit was ongoing, Defendant entered

into an agreement with EP Energy E&P Company, L.P. (“EP”) to transfer and assign most of the

interest it had in the Leases to EP. After Defendant entered into the agreement with EP,

Defendant requested that the Burns consent to the assignment. Paragraph 12 of the Burns Trust

Lease provides that any assignment of that Lease must first be consented to by Lessor or such

assignment will be void.

    18.   On August 7, 2015, Burns notified Defendant that Defendant had failed to pay Burns all

royalties due on production from the Leases. 5 See Exhibit G. Before agreeing to consent to the

assignment to EP, the Burns wanted assurance that the Burns would be paid all delinquent

royalties.




5Notice of Failure to Pay Royalty was also sent to other parties claiming a working interest in the Burns
Leases.

                                                    6
        Case 16-31975 Document 356 Filed in TXSB on 06/29/16 Page 7 of 19




 19.    On August 28, 2015, representatives of Defendant and the Burns met in San Antonio,

Texas, in an attempt to settle the Burns claims for unpaid, delinquent royalties. At that meeting,

Burns and their consultants presented Defendant with limited, preliminary audit results. The

results were limited and preliminary because Defendant breached the Leases by failing to

provide all the requested information, especially information needed for the Burns to complete

their audit.

 20.    The meeting concluded with the Burns and Defendant signing a letter agreement (the

“Agreement”) dated August 28, 2015. See Exhibit H. In keeping with the commitment under the

Agreement, the Burns and Defendant signed the Consent to Assignment of Oil and Gas Leases

(“consent”) to EP. See Exhibit I.

 21.    The Agreement required the following:

         a.    That Defendant pay a non-refundable sum of $583,000.00 to the Burns on

        Monday, August 31, 2015;

         b.    That Defendant reimburse the Burns for audit fees and expenses, to the extent that

        such sum exceeds $50,000.00, but not more than $180,000.00, the day after Defendant

        received statements from the Burns;

         c.    Upon closing of Defendant’s transaction with EP on Friday, September 4, 2015,

Defendant would escrow the sum of $500,000.00 in a secure account that is subject to a mutually

agreeable escrow agreement with Broadway Bank in San Antonio, Texas as the escrow agent;

and

         d.    The parties agree to work together to conclude the audit and resolve pending audit

        issues, if any, within 90 days of the escrow.

 22.    Defendants complied with the payment of $583,000.00. See Exhibit J-1.



                                                 7
          Case 16-31975 Document 356 Filed in TXSB on 06/29/16 Page 8 of 19




    23.   The Burns submitted the statements for audit fees and expenses as required under the

Agreement, but the Defendant did not pay the agreed upon amount of reimbursement to the

Burns. See Exhibits J-2, J-3 and J-4. Although required by the Agreement, Defendant never

funded the required escrow amount and the audit was not completed. See Exhibit J-5. Pursuant

to the Agreement, the escrow funds were to be paid at closing from the proceeds of Defendant’s

assignment of the Leases to EP, which closing occurred a few days after the Burns Agreement. If

not for the Agreement, the Burns would not have consented to Defendant’s assignment to EP,

which Defendant’s received more than $100,000,000.00 from such consent to the assignment.

    24.   The failure of Defendant to comply with all of the terms and conditions of the Agreement

raises the question as to whether the failure of consideration results in the invalidity of the

consent to assign and whether the consent to the assignment to EP fails for lack of consideration.

    25.   On April 6, 2016, the Burns sent a reminder of the audit and obligations of the

Agreement to Goodrich. The notice contained an additional Notice of Failure to Pay Royalty.

Neither Defendant nor EP responded to the Notice of Failure to Pay Royalty within the time 30

day period of the Burns Clark Lease and the 4819 Lease and the 60 day period under the Burns

Trust Lease as required under the Leases. 6 See Exhibit K.

    26.   The audit has not been closed and remains pending. To date, the Burns have calculated

non-payments in excess of $8,105,685.90, plus interest as required by the Leases or state law.

    27.   In violation of Defendant’s duties under the Leases, Defendant failed to calculate and pay

all royalty payments owed to the Burns under the Leases including using prices lower than those

required under the Leases; by wrongfully deducting costs and expenses and/or making

adjustments to the price or value used to calculate royalties; by failing to pay correctly on fuel



6   The Notice of Failure to Pay Royalty was also sent to EP and parties claiming a working interest.

                                                       8
       Case 16-31975 Document 356 Filed in TXSB on 06/29/16 Page 9 of 19




use (on and off the lease premises) and flared gas; and/or by not paying royalties on all volumes

produced from the Leases. Such non-payments are a breach of the Leases.

                       D. REQUEST FOR DECLARATORY JUDGMENT

28.    Plaintiffs invoke the Federal Declaratory Judgment Act as provided in 28 U.SC. § 2202

and the Texas Declaratory Judgment Act as provided in Chapter 37 of the Texas Civil Practice &

Remedies Code.

29.    Plaintiffs allege the performance or occurrence of all conditions precedent have been

performed or have occurred with regard to recovery on all elements of Plaintiffs’ claims or

requests for declaratory judgment.

30.    Plaintiffs request that this Court determine and/or declare the rights, status, and legal

relations between Plaintiffs and Defendant with regard to the Leases.

31.    Plaintiffs request that this Court determine and/or declare the rights, status, and legal

relations between Plaintiffs and Defendant with regard to the consent, which Plaintiffs executed

and delivered to Defendant consenting to the assignment of the Burns Trust Lease

32.    Plaintiffs request that this Court determine and/or declare the rights, obligations, status

and legal relations of Plaintiffs and Defendant with respect to the payment of royalties on all

leased substances under the Leases.

33.    Plaintiffs request that this Court determine and/or declare the amount of royalties to be

paid on all leased substances under the Leases.

34.    Plaintiffs request that this Court also determine and/or declare the following:

           a. the access or rights which the Plaintiffs have to review and/or receive information
              or documentation, pertaining to operations, marketing and production, under the
              Leases;

           b. whether the royalties which are to be paid by the Lessee were paid properly
              and/or timely under the Leases;


                                                  9
       Case 16-31975 Document 356 Filed in TXSB on 06/29/16 Page 10 of 19




              c. the rights and status of the parties under Paragraph 7.H. of the Burns Trust Lease
                 and Paragraph 5.8 of the Burns Clark Lease and 4819 Lease;

              d. the time, method and manner of payment on royalties under the Leases;

              e. the rights of the Plaintiffs to a full explanation of any deductions or adjustments
                 made, if any, which affect the calculation and payment of royalty under the
                 Leases;

              f. the conditions upon and manner(s) in which the lessee is to pay disputed royalties
                 under the Leases;

              g. the rights, status and other legal relations of the parties pursuant to the Leases;
                 and

              h. the attorneys’ fees, interest, costs, and expenses paid and/or incurred by Plaintiffs
                 in enforcing or seeking to enforce the terms and provisions of the Leases.

35.     Plaintiffs request a declaratory judgment determining whether the Plaintiffs have received

or been paid all benefits, sums, amounts, proceeds or royalties as described and contemplated by

the Leases.

36.     Plaintiffs request a declaratory judgment determining whether the termination provisions

contained in the Leases were triggered resulting in the automatic termination of the Leases. In the

event the termination provisions contained in the Leases were triggered, Plaintiffs further request

a declaratory judgment determining the extent of such termination(s).

37.     An award of reasonable and necessary attorneys’ fees and expenses and court costs to

Plaintiffs against Defendant under the Burns Clark Lease and 4819 Lease or Section 37.009 of the

Texas Civil Practice & Remedies Code and the Federal Declaratory Judgment Act.

                                              E. TRESPASS

38.     In the event the Court and/or fact finder determine(s) that the Leases terminated, all

activities conducted by Defendant on the Burns Ranch since the termination would constitute a

wrongful trespass. A lessee and/or assignee of a mineral interest(s) who enters the land after

                                                  10
       Case 16-31975 Document 356 Filed in TXSB on 06/29/16 Page 11 of 19




termination of the lease and termination of the right to enter is liable for injury resulting from

such unlawful entry. In the event a wrongful trespass occurred, Plaintiffs seek monetary relief

over $1,000,000.00.

                                    F. TRESPASS TO TRY TITLE

39.     In the event the Court and/or fact finder determine(s) that the Leases terminated,

Plaintiffs invoke the trespass to try title cause of action against Defendant pursuant to § 22.001 et

seq. of the Texas Property Code and Rule 783 et seq. of the Texas Rules of Civil Procedure and

request a determination of title to the leased premises and/or the Leases. If the Leases have

terminated, Plaintiffs request damages against Defendant for the use and occupation of the leased

premises and for those damages resulting from the wrongful use, development or production of

the oil, gas and other minerals underlying the Leases. In such event, Plaintiffs seek monetary

relief over $1,000,000.00.

                                      G. SUIT TO QUIET TITLE

40.     In the event the Court and/or fact finder determine(s) that the Leases terminated,

Defendant’s assertion of title to all of the leasehold interests described in the Leases casts a cloud

on the mineral interests and/or royalty interests owned by Plaintiffs. In such event, Plaintiffs

invoke this Court’s equitable power to remove the cloud on the mineral interests and/or royalty

interests owned by Plaintiffs by quieting title to said interests described in the Leases and/or

relevant deeds.

                                           H. CONVERSION

41.     In the event the Court and/or fact finder determine(s) that the Leases terminated,

Defendant has wrongfully asserted dominion or control over the mineral interests owned by

Plaintiffs and/or the oil, gas and other minerals produced from the leased premises, since



                                                  11
       Case 16-31975 Document 356 Filed in TXSB on 06/29/16 Page 12 of 19




termination. In such event, Defendant and any other working interest claimants have wrongfully

depleted the mineral interests owned by Plaintiffs and/or the oil, gas and other minerals produced

from the leased premises and have wrongfully asserted dominion or control over the proceeds or

the fair market value of same, since termination. Contingent on such finding, Plaintiffs sue

Defendant for all actual damages incurred on account of Defendant’s conversion. In such event,

Plaintiffs seek monetary relief over $1,000,000.00.

42.     In addition, in the event the Court and/or fact finder determine(s) that the Defendant

failed to pay royalties as required by the terms and provisions of the Leases, Plaintiffs assert that

there has been a wrongful assertion of dominion or control by Defendant of the royalties due and

owing to Plaintiffs under the terms and provisions of the Leases. Plaintiffs sue Defendant for all

actual damages incurred as a result of Defendant’ wrongful conversion. In this regard, Plaintiffs

seek monetary relief over $1,000,000.00.

                I. BREACH OF CONTRACT CAUSE OF ACTION NUMBER ONE

43.     Plaintiffs assert this cause of action for breaches of contract against Defendant in the

alternative to all other relief requested herein. Plaintiffs allege the performance or occurrence of

all conditions precedent have been performed or have occurred with regard to recovery on all

elements of Plaintiffs’ cause of action for breaches of contract against Defendant.

44.     Plaintiffs have performed or tendered performance of their contractual obligations under

the terms of the Leases.

45.     Plaintiffs contend that the Leases have been breached or violated by Defendant. The

provisions and/or paragraphs of the Leases, as applicable to the Defendant, that have been

breached or violated include, but are not limited to the following:




                                                 12
      Case 16-31975 Document 356 Filed in TXSB on 06/29/16 Page 13 of 19




           a. Defendant failed to properly calculate and pay all royalties owed in a timely

               manner; and

           b. Defendant failed to provide all information and data on all production from the

               Leases in a timely manner.

46.    The foregoing breaches or violations of the Leases or contracts have caused damages to

Plaintiffs, including but not limited to, lost royalties, lost value of royalties, lost revenue,

royalties, costs, fees and expenses, including reasonable attorneys’ fees, accountants’ fees,

engineers’ fees, consultants’ fees and/or experts’ fees.

47.    Plaintiffs have retained the law firm of Person, Whitworth, Borchers & Morales, L.L.P.

law firm to represent Plaintiffs in this action and Plaintiffs have agreed to pay the law firms

reasonable and necessary attorneys’ fees.       Plaintiffs seek to recover their reasonable and

necessary attorneys’ fees against Defendant, pursuant to Chapter 38 of the Texas Civil Practice

& Remedies Code. Plaintiffs also request an award of reasonable and necessary attorneys’ fees

and court costs against Defendant in the event an appeal is taken or made by Defendant.

48.    To date, the Burns have calculated non-payments in excess of $8,105,685.90.

               J. BREACH OF CONTRACT CAUSE OF ACTION NUMBER TWO

49.    Under Paragraph 14 of the Burns Trust Lease, Lessee agrees to furnish Lessor with full

and complete information pertinent to the calculation of royalty. The Burns Trust Lease also

states that if Lessee fails to furnish Lessor the information within thirty (30) days after Lessor’s

demand then Lessee shall pay Lessor any amount equal to “Twenty Five Dollars ($25.00) per

day per instrument requested beginning on the 30th day after the date of Lessor’s request and

continuing until such documents and information have been delivered to Lessor.”




                                                 13
      Case 16-31975 Document 356 Filed in TXSB on 06/29/16 Page 14 of 19




50.       Plaintiffs requested that Defendant provide documents as early as February 18, 2013;

however, Defendant refused to provide any documents until on or about February 26, 2015, on

which date, only some of the requested documents were finally provided. Additional requests for

documents and information were made following the February 2013 request, each of which were

met with refusal by Defendant to provide the documents and a failure by Defendant to comply

with the terms of the Leases. For each instrument that Defendant failed to provide timely,

Plaintiffs request damages in the amount of Twenty Five Dollars per day beginning on the 30th

day after each applicable request to Defendant from Plaintiffs to the date that the respective

documents were finally provided.

                K. BREACH OF CONTRACT CAUSE OF ACTION NUMBER THREE

51.       The Agreement entered into on August 28, 2015, between Defendant and Plaintiffs and

attached as Exhibit H has been breached by Defendant. Defendant failed to pay $130,000.00 in

fees and expenses; failed to escrow required funds and failed to complete the audit and pay all

sums owed as a result of the audit.

                                  L. ACCOUNTING AND/OR AUDIT

52.       Plaintiffs request that the Court order the Defendant to cooperate with a full accounting

and/or audit pursuant to the Leases. Plaintiffs allege the performance or occurrence of all

conditions precedent have been performed or have occurred for an accounting and/or audit.

53.       Plaintiffs request that this Court enforce their rights to review, inspect and receive any

and all documents as expressly provided in the Leases and order Defendant to comply with the

Leases.

54.       Plaintiffs request that this Court enforce those rights to audit which Plaintiffs have as set

forth in the Leases and order Defendant to comply with the audit provisions in the Leases.



                                                   14
      Case 16-31975 Document 356 Filed in TXSB on 06/29/16 Page 15 of 19




Pursuant to § 91.141 of the Texas Natural Resources Code, the Defendant must maintain books

and records regarding the measuring and metering of production of gas and liquids and the

calculation and payment of royalties thereon, including detailed explanations of any deductions

and adjustments to royalties. In addition to the protections provided to the Plaintiffs by the

Texas Natural Resources Code, Plaintiffs have the right under the Leases to audit production,

revenues and the calculation and payment of revenues. Plaintiffs hereby request an accounting

and/or audit and a full explanation of all gas and liquid measurements, prices, production, and

calculation of royalties as required by law and contract.

55.    In connection with this claim or cause of action for an accounting and/or audit, Plaintiffs

sue Defendant for any resulting deficiencies or non-payments of royalties, together with interest

as provided by contract or law or as provided by the Texas Natural Resources Code. Plaintiffs

also sue Defendant for attorneys’ fees expressly provided and allowed by the Leases.

       M. SECTION 91.401, ET SEQ., OF THE TEXAS NATURAL RESOURCES CODE

56.    Without waiving the above and foregoing, Plaintiffs assert this cause of action pursuant

to Section 91.401, et seq., of the Texas Natural Resources Code against Defendant in the

alternative to all other relief requested herein. Plaintiffs allege the performance or occurrence of

all conditions precedent have been performed or have occurred with regard to recovery on all

elements of Plaintiffs’ cause of action pursuant to Section 91.401, et seq., of the Texas Natural

Resources Code against Defendant

57.    Section 91.404(c), et seq., of the Texas Natural Resources Code provides that a payee has

a cause of action for non-payment of oil or gas proceeds or interest on those proceeds as required

in § 91.402 or § 92.403 of said Code. Plaintiffs seek to recover all damages from Defendant




                                                15
       Case 16-31975 Document 356 Filed in TXSB on 06/29/16 Page 16 of 19




relating to the non-payment of oil or gas proceeds and interest on those proceeds as required in §

91.402 or § 92.403 of the Texas Natural Resources Code.

58.     To date, the Burns have calculated non-payments in excess of $8,105,685.90.

                          N. NOTICE AND CONDITIONS PRECEDENT

59.     Notice has been provided to Defendant prior to the filing of this suit and by service of

Plaintiffs’ pleadings in this action. Plaintiffs allege that all conditions precedent to the filing of

and recovery on the aforementioned claims and causes of action have been performed, complied

with and/or have occurred.

                       O. NO RATIFICATION, REVIVOR OR NOVATION

60.     In the event and to the extent that any of the Leases may have terminated, nothing

contained herein shall be construed as a ratification, revivor, novation or creation of an interest in

Defendant or any other individual or entity or claimant in any of the Leases that are the subject

of this lawsuit.

                                       P. NO REPUDIATION

61.     To the extent that the Leases have not terminated, nothing herein shall be construed as a

repudiation of the Leases. The causes of action set forth herein related to trespass, trespass to try

title, suit to quiet title and conversion are conditional upon the Court’s initial determination(s) or

declaration(s) set forth in the request for declaratory judgment action set forth above.

                                         Q. JURY DEMAND

62.     Pursuant to Rule 38 of the Federal Rules of Civil Procedure and Rule 9014 of the

Bankruptcy Rules, Plaintiffs request a trial by Jury.

                                     R. REQUEST FOR RELIEF




                                                 16
      Case 16-31975 Document 356 Filed in TXSB on 06/29/16 Page 17 of 19




63.            Plaintiffs respectfully request that the Court enter judgment in their favor and

award relief as follows:

           a. Plaintiffs request that this Court render the declaratory judgment relief sought by
              Plaintiffs as described or requested hereinabove;

           b. Subject to the declaratory judgment relief sought by Plaintiffs, Plaintiffs request
              that this Court render the trespass relief sought by Plaintiffs as described or
              requested hereinabove;

           c. Subject to the declaratory judgment relief sought by Plaintiffs, Plaintiffs request
              that this Court render the trespass to try title relief sought by Plaintiffs as
              described or requested hereinabove;

           d. Subject to the declaratory judgment relief sought by Plaintiffs, Plaintiffs request
              that this Court render the suit to quiet title relief sought by Plaintiffs as described
              or requested hereinabove;

           e. Subject to the declaratory judgment relief sought by Plaintiffs, Plaintiffs request
              that this Court render the conversion relief sought by Plaintiffs as described or
              requested hereinabove;

           f. Plaintiffs request that this Court render the breaches of contract sought by
              Plaintiffs as described or requested hereinabove;

           g. Plaintiffs request that this Court render the accounting and/or audit relief sought
              by Plaintiffs as described or requested hereinabove;

           h. Plaintiffs request that this Court render the relief sought by Plaintiffs pursuant to
              Section 91.401, et seq., of the Texas Natural Resources Code as described or
              requested hereinabove;

           i. Plaintiff request that this Court award Plaintiff in excess of $8,105,685.90, plus
              interest as required by the Leases or state law for non-payment of royalties;

           j. Plaintiffs request that this Court award Plaintiffs reasonable and necessary
              attorneys’ fees and court costs against Defendant;

           k. Plaintiffs request that this Court award Plaintiffs pre- and post-judgment interest
              against Defendant; and

           l. Plaintiffs request that this Court award Plaintiffs such further relief, at law or in
              equity, to which Plaintiffs may show themselves justly entitled to receive.



                                                17
Case 16-31975 Document 356 Filed in TXSB on 06/29/16 Page 18 of 19




                        Respectfully submitted,


                        /s/ Albert M. Gutierrez
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                        ATTORNEYS FOR CAROLYN JULIA CLARK;
                        MICHELE CLARK CADWALLADER, TRUSTEE OF
                        THE CAROLYN JULIA CLARK FAMILY 2011
                        TRUST;  CHRISTOPHER    STUART     CLARK,
                        SUCCESSOR OF THE CHRISTOPHER STUART
                        CLARK MANAGEMENT TRUST; CHRISTOPHER
                        STUART    CLARK,   TRUSTEE     OF    THE
                        CHRISTOPHER STUART CLARK FAMILY 2011
                        TRUST; MICHELE CLARK CADWALLADER,
                        INDIVIDUALLY AND AS TRUSTEE OF THE
                        MICHELE CLARK CADWALLADER FAMILY 2011
                        TRUST; ALDES HARRAND CADWALLADER V;
                        WALTER CLARK CADWALLADER; 4819, LTD;
                        KATHERINE BURNS TERRY HORLEN, TRUSTEE
                        OF THE JOHN DAVID TERRY, III 1994 TRUST;
                        KATHERINE BURNS TERRY HORLEN, TRUSTEE
                        OF THE LISA CHRISTINE TERRY 1994 TRUST;
                        AND BURNS RANCH ENTERPRISES, LLC




                   CERTIFICATE OF SERVICE


                                18
     Case 16-31975 Document 356 Filed in TXSB on 06/29/16 Page 19 of 19




     I hereby certify that on June 29, 2016, I served a true and accurate copy of the
foregoing document via EMF/CF on counsel for Debtors as follows:



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                                          /s/ Albert M. Gutierrez




                                         19
